                                               Exhibit B: Materials Sealed Under "Compelling Reasons" Standard

                                                                      Dkt. No. of       Dkt. No.
                   Description (from the Joint Trial Exhibit List,                                      Dkt. No. of




27
     Trial Ex. No.                                                    Motion to        containing                    Notes
                   Dkt. No. 493, Ex. 1, where applicable)                                              Order Sealing
                                                                         Seal            Exhibit
                  12/01/2011 Motorola and Vtech Patent License
          13                                                         181; 282; 361     182; 286; 363   187; 337; 384
                  Agreement (CX‐782C; Inv. No. 337‐TA‐752)
                  9/13/2004 Patent Cross License Agreement;
                  Attachment B to Settlement Agreement Between
          36                                                              271              273             336
                  Proxim and Symbol (CX‐777C; ITC Inv. No. 337‐TA‐
                  752)
                  2/24/2006 Patent License Agreement; Attachment
          37      B to Settlement Agreement Between Terabeam              271              273             336
                  and Symbol (CX‐775C; ITC Inv. No. 337‐TA‐752)
                  6/09/2004 Settlement Agreement between Hand
          38                                                              271              273             336
                  Held Products and Symbol (CX‐776C 337‐TA‐752)
                  11/07/2003 Email from Bawel to Horn re: Draft                                                        Trial exhibit has a different
         1643                                                             282              286             337
                  MPEG LA Press Release attachment                                                                     Bates range than the exhibit
                  12/23/2011 Motorola’s Second Amended
         2081     Disclosure of Asserted Claims and Infringement          204              206             292
                  Contentions
                  CX‐615C; Deposition of Penello, Albert dated
         2577                                                             271              273             336
                  5/25/2011
                  Exhibit E to Motorola's Apr. 12, 2012 Written                                                        The trial exhibit is only an
         2799     Response to Microsoft's Third Amended 30(b)(6)        271; 361         273; 363        336; 384      excerpt of the document
                  Notice                                                                                               previously sealed by the Court.
         2832     E‐Mail re: Patents (Redacted) (Murphy Ex. 7)            271              273             336
                                                                                                                       Another version of this license
                  Patent Cross License Agreement between                                                               was previously sealed under the
         2833                                                           138; 234         140; 238        187; 292
                  Motorola, Inc, and RIM                                                                               "compelling reasons" standard
                                                                                                                                                         Case 2:10-cv-01823-JLR Document 495-2 Filed 10/29/12 Page 1 of 6




                                                                                                                       by Dkt. No. 294.




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                                                Exhibit B: Materials Sealed Under "Compelling Reasons" Standard

                                                                          Dkt. No. of      Dkt. No.
                   Description (from the Joint Trial Exhibit List,                                      Dkt. No. of




28
     Trial Ex. No.                                                        Motion to       containing                 Notes
                   Dkt. No. 493, Ex. 1, where applicable)                                              Order Sealing
                                                                             Seal           Exhibit
                  Amended and Restated Cellular Essential
         2835     Properties Cross License Agreement between               138, 271        140, 273       187, 336
                  Motorola and Nokia Corp.



                  Cellular Essential Properties Cross License
         2836                                                                361             363            384
                  Agreement between Motorola, and BenQ Corp.



                  Cellular Essential Properties Cross License
         2837     Agreement between Motorola, Inc. and Benefon              85; 271        87; 273        176; 336
                  OYJ
                  Direct Testimony of Kirk Dailey, ITC Inv. No. 337‐TA‐
         2860                                                                227             230            294
                  752
                  Rebuttal Expert Witness Testimony of Richard J.
                  Holleman, marked as Hearing Exhibit CX‐758C and
                  admitted into evidence in Certain Gaming and
         2873                                                              227; 361        230; 363       294; 384
                  Entertainment Consoles, Related Software, and
                  Components Thereof, Inv. No. 337‐TA‐752
                  (U.S.I.T.C.)
         2894     E‐mail re: Microsoft‐Motorola (REDACTED)                   227             230            294
                  Selected pages from the transcript of the
                  deposition of Louis P. Berneman, ED D, CLP, taken
         2897     in, In the Matter of Certain Mobile Devices,               271             273            336
                  Associated Software, and Components Thereof, ITC
                  Inv. No. 337‐TA‐744
                                                                                                                             Case 2:10-cv-01823-JLR Document 495-2 Filed 10/29/12 Page 2 of 6




         2898     DRAFT (08/08) RAND and OSS (Marasco Ex. 8)                 271             273            336




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                                                                        Dkt. No. of      Dkt. No.
                   Description (from the Joint Trial Exhibit List,                                     Dkt. No. of




29
     Trial Ex. No.                                                      Motion to       containing                  Notes
                   Dkt. No. 493, Ex. 1, where applicable)                                             Order Sealing
                                                                           Seal           Exhibit
                  Rebuttal Testimony of Kirk Dailey, marked as
                  Hearing Exhibit CX‐778C and admitted into
         2900     evidence in Certain Gaming and Entertainment           227; 361        230; 363        294; 384
                  Consoles, Related Software, and Components
                  Thereof, Inv. No. 337‐TA‐752 (U.S.I.T.C.)
                  Selected pages from a document titled FY11
         2908     Accessories Plan, US Xbox 360, Last Updated July 8,      271             273             336
                  2010.
                  Selected pages from the transcript of the January
                  18, 2012 hearing held in In The Matter of Certain
                  Gaming and Entertainment Consoles, Related
         2909     Software, and Components Thereof, Inv. No. 337‐          271             273             336
                  TA‐752 (U.S.I.T.C.), which reproduces the
                  confidential sworn testimony given by Kevin M.
                  Murphy
                  E‐mail re: Next TIF Conference Call on August 22
         2910                                                              287             289             338
                  and Proposed Draft Agenda (Marasco Ex. 7)
                  Rebuttal Expert Testimony of Dr. David J. Teece,
                  marked as Hearing Exhibit CX‐759C and admitted
                  into evidence in In The Matter of Certain Gaming
         2916                                                            227; 361        230; 363        294; 384
                  and Entertainment Consoles, Related Software,
                  and Components Thereof, Inv. No. 337‐TA‐752
                  (U.S.I.T.C.)
                  Expert Report of Louis P. Berneman, Ed D, CLP,”
                  submitted in Certain Mobile Devices, Associated
         2924                                                            271; 361        273; 363        336; 384
                  Software, and Components Thereof, ITC Inv. No.
                                                                                                                            Case 2:10-cv-01823-JLR Document 495-2 Filed 10/29/12 Page 3 of 6




                  337‐TA‐744
                  Settlement, Release, and License Agreement
         3352                                                              361             363             384
                  between CSIRO and Microsoft



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                                                   Exhibit B: Materials Sealed Under "Compelling Reasons" Standard

                                                                            Dkt. No. of      Dkt. No.
                   Description (from the Joint Trial Exhibit List,                                         Dkt. No. of




30
     Trial Ex. No.                                                          Motion to       containing                  Notes
                   Dkt. No. 493, Ex. 1, where applicable)                                                 Order Sealing
                                                                               Seal           Exhibit
                     Excerpts of the deposition of Kirk Dailey, taken
      (Not among September 2, 2011, In the Matter of Certain
       proposed Gaming and Entertainment Consoles, Related                      85             87              176
     trial exhibits) Software, and Components Thereof (ITC
                     Investigation No. 337‐TA‐752)
                     Motorola’s Memorandum in Opposition to
      (Not among Microsoft’s Motion to Terminate the Investigation
       proposed with Respect to U.S. Patent Nos. 6,980,596 and                 145             144             176
     trial exhibits) 7,162,094, which was filed in ITC Investigation No.
                     337‐TA‐752 on November 28, 2011.
                     Motorola’s Memorandum in Opposition to
      (Not among Microsoft’s Motion to Terminate with Respect to
       proposed U.S. Patent Nos. 5,319,712 and 5,357,571,                      145             144             176
     trial exhibits) which was filed in ITC Investigation No. 337‐TA‐752
                     on November 28, 2011.
      (Not among
                     Transcript of the March 20, 2012 deposition of K.
       proposed                                                                227             230             294
                     McNeill Taylor, Jr.
     trial exhibits)
                     Transcript of confidential testimony of Dr. David J.
                     Teece during the January 20, 2012 hearing held in
      (Not among
                     In The Matter of Certain Gaming and
       proposed                                                                227             230             294
                     Entertainment Consoles, Related Software, and
     trial exhibits)
                     Components Thereof , Inv. No. 337‐TA‐752
                     (U.S.I.T.C.)
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                   Description (from the Joint Trial Exhibit List,                                          Dkt. No. of




31
     Trial Ex. No.                                                            Motion to       containing                 Notes
                   Dkt. No. 493, Ex. 1, where applicable)                                                  Order Sealing
                                                                                 Seal           Exhibit
                     Transcript of confidential testimony of Kirk Dailey
      (Not among during the January 20, 2012 hearing held in In The
       proposed Matter of Certain Gaming and Entertainment                     227; 361        230; 363      294; 384
     trial exhibits) Consoles, Related Software, and Components
                     Thereof , Inv. No. 337‐TA‐752 (U.S.I.T.C.)

                     Transcript of testimony, including confidential
                     testimony, provided by various Motorola
                     witnesses, including Kirk Dailey and Bill Richards, as
      (Not among
                     well as a third party witness, Jennifer Ochs
       proposed                                                                  234             238           292
                     (Marvel), in In The Matter of Certain Gaming and
     trial exhibits)
                     Entertainment Consoles, Related Software, and
                     Components Thereof , Inv. No. 337‐TA‐752
                     (U.S.I.T.C.)

                     Rebuttal Testimony of Walter Leland Rossini, in In
      (Not among
                     The Matter of Certain Gaming and Entertainment
       proposed                                                                  234             238           292
                     Consoles, Related Software, and Components
     trial exhibits)
                     Thereof , Inv. No. 337‐TA‐752 (U.S.I.T.C.)

      (Not among
                     Transcript of the April 4, 2012 deposition of
       proposed                                                                  271             273           336
                     Horacio E. Gutierrez
     trial exhibits)

      (Not among Excerpts from the uncertified rough draft transcript
       proposed of the April 11, 2012 deposition of Aaron B.                     271             273           336
     trial exhibits) Bernstein
                                                                                                                                 Case 2:10-cv-01823-JLR Document 495-2 Filed 10/29/12 Page 5 of 6




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                                                  Exhibit B: Materials Sealed Under "Compelling Reasons" Standard

                                                                           Dkt. No. of      Dkt. No.
                   Description (from the Joint Trial Exhibit List,                                        Dkt. No. of




32
     Trial Ex. No.                                                         Motion to       containing                  Notes
                   Dkt. No. 493, Ex. 1, where applicable)                                                Order Sealing
                                                                              Seal           Exhibit
      (Not among Excerpts from the transcript of the April 4, 2012
       proposed deposition of Motorola employee Timothy M.                    282             286             337
     trial exhibits) Kowalski

      (Not among
                     Selected pages from the transcript of the April 18,
       proposed                                                               287             289             338
                     2012 deposition of Richard A. Sonnentag
     trial exhibits)

      (Not among
                     Excerts from the Opening Expert Report of Charles
       proposed                                                               372             375             385
                     R. Donohoe
     trial exhibits)
                                                                                                                               Case 2:10-cv-01823-JLR Document 495-2 Filed 10/29/12 Page 6 of 6




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